 Case 6:20-cv-00960-WWB-EJK Document 1 Filed 06/03/20 Page 1 of 7 PageID 1



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

KATHLEEN MUZZY,

       Plaintiff,

v.                                                      Case No.: 6:20-cv-960

C & C GLOBAL INVESTMENTS, INC.
d/b/a TROPICAL SMOOTHIE CAFÉ FL210,
and
PETER CHUNG, Individually,

      Defendants.
_______________________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, KATHLEEN MUSSY (“Plaintiff”), by and through her undersigned counsel, brings

this action against Defendants, C & C GLOBAL INVESTMENTS, INC. d/b/a TROPICAL

SMOOTHIE CAFÉ FL210, and PETER CHUNG, ( “TROPICAL SMOOTHIE”, “CHUNG” or

“Defendants”), and alleges as follows:

                                                 Introduction

       1.      This is an action by the Plaintiff against her former employer for overtime

compensation, liquidated damages and other relief under the Fair Labor Standards Act (the

“FLSA”), 29 U.S. C. § 201 et seq.

                                     Parties, Jurisdiction, and Venue

       2.      Plaintiff, KATHLEEN MUZZY, was a resident of Brevard County, Florida at all

times material hereto, and she is sui juris.

       3.       The acts committed occurred in Indian Harbor Beach, Florida.




                                               Page 1 of 7
 Case 6:20-cv-00960-WWB-EJK Document 1 Filed 06/03/20 Page 2 of 7 PageID 2



         4.      Plaintiff was a non-exempt employee of Defendants who worked in excess of 40

hours each workweek and was not paid overtime for each hour worked in excess of 40 during a

workweek.

         5.      Plaintiff was a non-exempt, employee of Defendants, as the term “employee” is

defined by 29 U.S.C. §203(e).

         6.      Defendant, TROPICAL SMOOTHIE, was conducting business in Brevard County,

Florida, and it is sui juris.

         7.      At all times relevant, TROPICAL SMOOTHIE operated as a Café having its

principle place of business located at 660 E. Eau Gallie Blvd, Ste. 102, Indian Harbor Beach, FL

32937.

         8.       At all times relevant PETER CHUNG operated TROPICAL SMOOTHIE.

         9.       At all times relevant C & C GLOBAL INVESTMENTS, INC. owned the Indian

Harbor Beach TROPICAL SMOOTHIE Café.

         10.     The foregoing conduct, as alleged, constitutes a willful violation of the FLSA, as

such a three-year statute of limitation applies, pursuant to 29 U.S.C. §§201 et seq.

         11.     This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. § 1331 and

the authority to grant declaratory relief under the FLSA pursuant to 29 U.S.C. § 201 et seq.

                                            General Allegations

         12.     Plaintiff, KATHLEEN MUZZY started working for Defendants on or about

February 22, 2016. To the extent that records exist regarding the exact dates of Plaintiff’s

employment, such records are in Defendants’ exclusive custody.

         13.     Plaintiff, KATHLEEN MUZZY employment with Defendants ended on or about

April 3, 2020.



                                             Page 2 of 7
 Case 6:20-cv-00960-WWB-EJK Document 1 Filed 06/03/20 Page 3 of 7 PageID 3



         14.   Plaintiff, KATHLEEN MUZZY worked as a non-exempt employee of Defendants

at its Indian Harbor Beach, FL location as the General Manager.

         15.   At all times relevant, KATHLEEN MUZZY regularly worked in excess of forty

(40) hours in each workweek but was not paid time and one-half compensation for those overtime

hours.

         16.   Plaintiff was a non-exempt, employee of Defendants, as the term “employee” is

defined by 29 U.S.C. § 203(e).

         17.   At all times relevant, Defendant, TROPICAL SMOOTHIE, did business as a Café

at 660 E. Eau Gallie Blvd, Ste. 102, Indian Harbor Beach, FL 32937.

         18.   At all times relevant, Defendant, TROPICAL SMOOTHIE, was and is an

“enterprise” engaged in commerce as defined by 29 U.S.C. § 203 because it has employees engage

in interstate commerce and the manufacturer of goods that are shipped to other states travelling in

interstate commerce and its annual gross volume of sales made or business done is not less than

$500,000.00.

         19.   Defendants were Plaintiff’s employer for purposes of the FLSA, as that term

“employer” is defined by 29 U.S.C. § 203(d).

         20.   The FLSA requires each covered employer such as Defendant to compensate all

non-exempt employees at a rate of not less than one and one-half times the regular rate of pay for

work performed in excess of forty hours per work week.

   21. At all times relevant to this action Defendant, PETER CHUNG owned and operated

TROPICAL SMOOTHIE and who regularly exercised the authority to: (a) hire and fire employees

of TROPICAL SMOOTHIE (b) determine the work schedules for the employees of and (c) control

the finances and operations of. By virtue of having regularly exercised that authority on behalf of



                                            Page 3 of 7
 Case 6:20-cv-00960-WWB-EJK Document 1 Filed 06/03/20 Page 4 of 7 PageID 4



TROPICAL SMOOTHIE, PETER CHUNG is/was an employer as defined by 29 U.S.C. §201,

et seq.

          22.     During her employment with Defendants, Plaintiff worked in excess of forty (40)

hours per workweek without receiving overtime compensation for all hours worked in excess of

forty (40). Despite the hours worked by Plaintiff, Defendants willfully, in bad faith and in knowing

violation of the Federal Fair Labor Standards Act, failed and refused to pay her overtime

compensation.

          23.     Under the FLSA Defendants are required to keep accurate records of the Plaintiff’s

hours worked and wages earned. Defendants only partially kept some records. The time which

Plaintiff spent at home doing the books, schedule and other tasks for the sole benefit of Defendants,

was not compensated.

          24.     Defendants have failed to make, keep, and preserve records with respect to Plaintiff,

sufficient to determine her wages, hours, and other conditions and practices of employment, in

violation of the FLSA, 29 U.S.C. § 201, et seq.

          25.     All conditions precedent have been satisfied by Plaintiff or waived by Defendants.

          26.     Plaintiff retained the undersigned counsel and has agreed to pay a reasonable fee

for all services rendered.

          27.     Defendants’ unlawful conduct has been widespread, repeated and consistent.

          COUNT I – RECOVERY OF OVERTIME COMPENSATION UNDER FLSA

    28. Plaintiff re-alleges and incorporates paragraphs 1 through 27 of this Complaint, as if set

          forth in full herein.

    29. Defendants have engaged in a widespread pattern, policy, and practice of violating the

          FLSA’s overtime provisions.



                                              Page 4 of 7
Case 6:20-cv-00960-WWB-EJK Document 1 Filed 06/03/20 Page 5 of 7 PageID 5



 30. Defendants willfully and intentionally refused to pay Plaintiff overtime pay for all of those

    hours worked in excess of forty (40) in a workweek.

 31. At all times relevant, KATHLEEN MUZZY regularly worked in excess of forty (40) hours

    in each workweek.

 32. Plaintiff was entitled to be paid time and one-half of her regular rate of pay for each hour

    worked in excess of forty (40) hours per week.

 33. During her employment with Defendants, Plaintiff worked overtime hours but was not paid

    time and one-half compensation for same.

 34. Defendants did not compensate Plaintiff for all overtime hours worked.

 35. Plaintiff, KATHLEEN MUZZY routinely worked in excess of forty (40) hours a week and

    only received her regular rate for the time worked.

 36. During her entire employment with Defendants, Plaintiff, KATHLEEN MUZZY worked

    an average of fifty-five (55) hours per week.

 37. Defendants either knew from prior experience or recklessly failed to investigate whether

    its failure to compensate Plaintiff for all hours worked violated the Federal Wage Laws of

    the United States.

 38. Defendants did not have a good faith basis for their decision not to pay Plaintiff her full

    overtime compensation.

 39. As a result of Defendants’ intentional, willful, and unlawful acts in refusing to pay Plaintiff

    time and one-half her regular rate of pay for each hour worked in excess of forty (40) per

    work week in one or more work weeks, Plaintiff has suffered damages plus incurring

    reasonable attorneys’ fees and costs.




                                          Page 5 of 7
 Case 6:20-cv-00960-WWB-EJK Document 1 Filed 06/03/20 Page 6 of 7 PageID 6



   40. Plaintiff is entitled to a back-pay award at her overtime rate for all overtime hours worked,

       plus an equal amount as liquidated damages, plus all attorneys’ fees and costs.

   41. Because Defendants violation of the FLSA has been willful, therefore a three-year statute

       of limitations applies, pursuant to 29 U.S.C. §201 et seq.

   42. As a result of Defendants blatant violations of the FLSA, the Plaintiff has been damaged.

   43. For a couple of months, Plaintiff has exhaustively tried to work with Defendants’ counsel

       to resolve the claims of Plaintiff, but has been unable to due to untimely responses which

       were deemed by the undersigned to be stalling-tactics of Defendants which in effect, were

       reducing Plaintiff’s damages be expiring some of her wage claims from prior years.

WHEREFORE Plaintiff, KATHLEEN MUZZY demands the entry of a judgment in her favor

and against Defendant, C & C GLOBAL INVESTMENTS, INC. d/b/a TROPICAL SMOOTHIE

CAFÉ FL210, and PETER CHUNG, after trial by jury and as follows:

 a. That the Court declares that the FLSA requires Defendant to compensate Plaintiff from the

     overtime hours worked, which remains unpaid;

 b. Unpaid overtime wages found to be due and owing;

 c. An additional and equal amount of liquidated damages;

 d. An award of reasonable attorney’s fees and all costs incurred herein; and

 e. All other damages to which Plaintiff may be entitled

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial on all issues herein triable by jury.

Respectfully submitted on this 3rd day of June 2020.

                                                      ARCADIER, BIGGIE & WOOD, PLLC.

                                                      /s/ Maurice Arcadier, Esquire
                                                      Maurice Arcadier, Esquire

                                            Page 6 of 7
Case 6:20-cv-00960-WWB-EJK Document 1 Filed 06/03/20 Page 7 of 7 PageID 7



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                                Page 7 of 7
